
270 U.S. 44 (1926)
MARYLAND
v.
SOPER, JUDGE. (No. 3)
No. 25, Original.
Supreme Court of United States.
Argued December 7, 1925.
Decided February 1, 1926.
PETITION FOR A WRIT OF MANDAMUS.
Messrs. Thos. H. Robinson, Attorney General of Maryland, and Herbert Levy, Assistant Attorney General of Maryland, for petitioner.
*45 Assistant to the Attorney General Donovan, with whom Solicitor General Mitchell was on the brief, for respondent.
MR. CHIEF JUSTICE TAFT delivered the opinion of the Court.
This case is quite like that in No. 24, Original, just decided. It differs, in that here the indictment which was removed from the Circuit Court of Harford County, Maryland, to the District Court of the United States for Maryland was an indictment against E. Franklin Ely for perjury, in the inquiry made by the coroner into the circumstances of the death of Wenger, it being charged that when it was material whether he had seen Lawrence Wenger at the time he (Ely), as a government officer, lay concealed and hidden and watched the bringing of the still, he falsely stated he had not seen Wenger. In all other respects the proceedings were quite like those in the case just decided, and on the principles laid down in that case we must hold that there was no ground for removing the prosecution of Ely for perjury, and that the mandamus to require the remanding of the removal should be made absolute.
